Case 2:19-cr-20026-GAD-EAS ECF No. 140 filed 02/04/20   PageID.1078   Page 1 of 3




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


 United States of America,

             Plaintiff,                       Criminal No. 19-cr-20026
 v.
                                              Hon. Gershwin A. Drain
 D-3 Phanideep Karnati,

             Defendant.


              Amended Preliminary Order of Forfeiture


        A Stipulated Preliminary Order of Forfeiture was entered on

 December 6, 2019, providing for the Defendant’s forfeiture to the United

 States of $11,700 in lieu of forfeiture of real property located at 10808

 Symington Circle, Louisville, Kentucky 40241 (“Substitute Proceeds”).

 The Substitute Proceeds were to be paid in the form of a Cashier’s

 Check made payable to the “U.S. Customs and Border Protection.” ECF

 126.

        Through inadvertence on the Government’s part, the Stipulated

 Preliminary Order of Forfeiture includes a clerical error, incorrectly
Case 2:19-cr-20026-GAD-EAS ECF No. 140 filed 02/04/20   PageID.1079   Page 2 of 3




 identifying the agency authorized to dispose of the Substitute Proceeds

 as the United States Marshals Service, rather than the U.S. Customs

 and Border Protection.

       Upon the Government’s unopposed Application for Entry of

 Amended Preliminary Order of Forfeiture, the Court otherwise being

 advised in all the premises, and pursuant to Federal Rule of Criminal

 Procedure 36, IT IS HEREBY ORDERED THAT

       1.    The Stipulated Preliminary Order of Forfeiture, the terms of

 which are incorporated herein by reference, shall be amended at

 paragraph 4 to state that the U.S. Customs and Border Protection

 is AUTHORIZED to dispose of the Forfeited Substitute Proceeds

 according to law.

            [The remainder of this page intentionally left blank.]




                                      2
Case 2:19-cr-20026-GAD-EAS ECF No. 140 filed 02/04/20   PageID.1080   Page 3 of 3




       2.    Upon entry of this Order this correction shall be

 incorporated by reference into the December 6, 2019 Stipulated

 Preliminary Order of Forfeiture, and the December 6, 2019 Stipulated

 Preliminary Order of Forfeiture shall remain the same in all other

 respects.

             IT IS SO ORDERED.

 Dated: February 4, 2020

                                    s/Gershwin A. Drain
                                    Honorable Gershwin A. Drain
                                    United States District Judge




                                      3
